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EXHIBIT 3

Cover Letter to Holders of Claims and Interests
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)
In re: ) Chapter 11

)
ENERGY FUTURE HOLDINGS CORP., et al...) Case No. 14-10979 (CSS)

)
Debtors. ) Jointly Administered

)
)

TO: ALL HOLDERS OF CLAIMS AND INTERESTS AGAINST THE EFH/EFIH
DEBTORS ENTITLED TO VOTE ON THE PLAN:

Energy Future Holdings Corp. and its affiliated debtors and debtors in possession
(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11
of the United States Code in the United States Bankruptcy Court for the District of Delaware (the
“Court”) on April 29, 2014.

You have received this letter and the enclosed materials because you are entitled to vote
on the First Amended Joint Plan of Reorganization of Energy Future Holdings Corp., Energy
Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11
of the Bankruptcy Code [D.I.___] (as may be modified, amended, or supplemented from time to
time, the “Plan”).”

Energy Future Holdings Corp. (“EFH Corp.”), certain of its direct and indirect subsidiaries
(together with EFH Corp., the “EFH Debtors”),? Energy Future Intermediate Holding Company
LLC (“EFIH”), and EFIH Finance, Inc. (together with EFIH, the “EFIH Debtors,” and the EFH
Debtors together with the EFIH Debtors, the “EFH/EFIH Debtors”) have approved the filing of
the Plan and the solicitation of votes to accept the Plan. The EFH/EFIH Debtors believe that the
acceptance of the Plan is in the best interests of their estates, holders of Claims and Interests against
the EFH/EFIH Debtors, and all other parties in interest. Moreover, the EFH/EFIH Debtors believe
that any alternative other than Confirmation of the Plan could result in extensive delays and
increased administrative expenses, which, in turn, would likely result in smaller distributions (or

1 The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of
their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http:/Awww.efhcaseinfo.com.

2 Capitalized terms not otherwise defined herein shall have the same meanings set forth in the Plan.

3 The other EFH Debtors are Ebasco Services of Canada Limited, EEC Holdings, Inc., EECI, Inc., EFH Australia
(No. 2) Holdings Company, EFH Finance (No. 2) Holdings Company, EFH FS Holdings Company, EFH
Renewables Company LLC, Generation Development Company LLC, LSGT Gas Company LLC, LSGT
SACROC, Inc., NCA Development Company LLC, and TXU Receivables Company.
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no distributions) on account of Claims and Interests against the EFH/EFIH Debtors asserted in
these Chapter 11 Cases.

THE EFH/EFIH DEBTORS STRONGLY URGE YOU TO
PROPERLY AND TIMELY CAST YOUR BALLOT TO ACCEPT THE PLAN.

Previously, you may have been entitled to vote, and you may have voted, in connection
with the Debtors’ Fourth Amended Joint Plan of Reorganization of Energy Future Holdings Corp.,
et. al., Pursuant to Chapter 11 of the Bankruptcy Code, as it applied to the EFH Debtors and the
EFIH Debtors or, with respect to Holders of claims in Class B3, Class B4, and Class B6, the
Debtors’ Eighth Amended Joint Plan of Reorganization of Energy Future Holdings Corp., et. al.,
Pursuant to Chapter 11 of the Bankruptcy Code, as it applied to the EFH Debtors and the EFIH
Debtors (each, the “NextEra Plan”). ANY VOTE YOU MADE IN CONNECTION WITH
THE NEXTERA PLAN OR ANY PLAN IN THESE CHAPTER 11 CASES WILL NOT
COUNT AS TO THE PLAN. YOU MUST SEPARATELY VOTE FOR OR AGAINST THE
PLAN.

On | ], 2017, the Court entered an order [D.I. |] (the “EFH
Disclosure Statement Order”): (a) authorizing the EFH/EFIH Debtors to solicit acceptances to the
Plan; (b) approving the Disclosure Statement for the First Amended Joint Plan of Reorganization
of Energy Future Holdings Corp., Energy Future Intermediate Holding Company LLC, and the
EFH/EFIA Debtors Pursuant to Chapter 11 of the Bankruptcy Code, including all exhibits and
schedules thereto [D.I. | (as may be modified, amended, or supplemented from time to time,
the “EFH Disclosure Statement’) as containing “adequate information” pursuant to section 1125
of the Bankruptcy Code; (c) approving the solicitation materials and documents to be included in
the solicitation packages; (d) approving procedures for soliciting, receiving, and tabulating votes
on the Plan; and (e) establishing notice and objection procedures for confirmation of the Plan.

In addition to this cover letter, the enclosed materials comprise your Solicitation Package,
and were approved by the Court for distribution to Holders of Claims and Interests against the
EFH/EFIH Debtors. The Solicitation Package consists of the following:

a. this Cover Letter explaining the solicitation process and
urging Holders of Claims and Interests against the
EFH/EFIH Debtors in the Voting Classes to accept the Plan;

b. the cover letter from the EFH/EFIH Committee;

c. the EFH Disclosure Statement, as approved by the Court
(with all exhibits, including the Plan);

d. the EFH Disclosure Statement Order (without exhibits
included except for the Solicitation Procedures approved by
the Court, attached thereto as Exhibit 6);

e. the notice of the hearing to consider confirmation of the
Plan; and
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f. a Ballot (together with detailed voting instructions and a
postage prepaid return envelope).

The materials in the Solicitation Package are intended to be self-explanatory. If you should
have any questions or if you would like to obtain additional solicitation materials (or paper copies
of solicitation materials if you received a CD-ROM), please feel free to contact the Debtors’
Solicitation Agent, by: (a) calling the Debtors’ restructuring hotline at (877) 276-7311; (b) visiting
the Debtors’ restructuring website at: http:/(www.efhcaseinfo.com; and/or (c) email to
efhvote@epiqsystems.com and reference “EFH/EFIH” in the subject line. You may also obtain
copies of any pleadings filed in these Chapter 11 Cases for a fee via PACER at:
http://www.deb.uscourts.gov. Please be advised that the Solicitation Agent is authorized to
answer questions about, and provide additional copies of, solicitation materials, but may not advise
you as to whether you should vote to accept or reject the Plan.
